

Matter of Walden v Goldberg (2019 NY Slip Op 02176)





Matter of Walden v Goldberg


2019 NY Slip Op 02176


Decided on March 21, 2019


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 21, 2019

Friedman, J.P., Renwick, Webber, Kahn, Kern, JJ.


8774 3190/15 -522] 173/19

[*1]In re John Walden, Petitioner,
vHon. Arlene Goldberg, et al., Respondents.


John Walden, petitioner pro se.
Letitia James, Attorney General, New York (Charles F. Sanders of counsel), for Hon. Arlene Goldberg, respondent.
Cyrus R. Vance, Jr., District Attorney, New York (Stephen Kress of counsel), for Shilpa Kalra, respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: MARCH 21, 2019
CLERK








